Case 4:21-cv-00023-JST Document 1-1 Filed 01/04/21 Page 1 of 34




EXHIBIT A
Case 4:21-cv-00023-JST Document 1-1 Filed 01/04/21 Page 2 of 34
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CASE NUMBER:
        Case CGC-20-587947   RUSTY
             4:21-cv-00023-JST     AREIAS
                               Document 1-1ETFiled
                                              AL VS. APPLIED
                                                   01/04/21   UNDERWRITERS,
                                                            Page 27 of 34   INC ET AL

                                     NOTICE TO PLAINTIFF
A Case Management Conference is set for:

                 DATE:       APR-14-2021
                 TIME:       10:30AM

                 PLACE:      Department 610
                             400 McAllister Street
                             San Francisco, CA 94102-3680
All parties must appear and comply with Local Rule 3.

 CRC 3.725 requires the filing and service of a case management statement form CM-110
 no later than 15 days before the case management conference. However, it would facilitate
 the issuance of a case management order without an appearance at the case
 management conference if the case management statement is filed and served twenty-five
 days before the case management conference.

Plaintiff must serve a copy of this notice upon each party to this action with the summons and
complaint. Proof of service subsequently filed with this court shall so state. This case is
eligible for electronic filing and service per Local Rule 2.11. For more information,
please visit the Court's website at www.sfsuperiorcourt.org under Online Services.
[DEFENDANTS: Attending the Case Management Conference does not take the place
of filing a written response to the complaint. You must file a written response with the
court within the time limit required by law. See Summons.]

                 ALTERNATIVE DISPUTE RESOLUTION REQUIREMENTS

  IT IS THE POLICY OF THE SUPERIOR COURT THAT EVERY CIVIL CASE SHOULD PARTICIPATE IN
  MEDIATION, ARBITRATION, NEUTRAL EVALUATION, AN EARLY SETTLEMENT CONFERENCE, OR
  OTHER APPROPRIATE FORM OF ALTERNATIVE DISPUTE RESOLUTION PRIOR TO A TRIAL.


  (SEE LOCAL RULE 4)


Plaintiff must serve a copy of the Alternative Dispute Resolution (ADR) Information Package
on each defendant along with the complaint. (CRC 3.221.) The ADR package may be
accessed at www.sfsuperiorcourt.org/divisions/civil/dispute-resolution or you may request a
paper copy from the filing clerk. All counsel must discuss ADR with clients and opposing
counsel and provide clients with a copy of the ADR Information Package prior to filing
the Case Management Statement.
Superior Court Alternative Dispute Resolution Administrator
400 McAllister Street, Room 103-A
San Francisco, CA 94102
(415) 551-3869


See Local Rules 3.3, 6.0 C and 10 B re stipulation to judge pro tem.
Case 4:21-cv-00023-JST Document 1-1 Filed 01/04/21 Page 28 of 34
                              Case 4:21-cv-00023-JST Document 1-1 Filed 01/04/21 Page 29 of 34
                                                                                                                                                      POS-010
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                  FOR COURT USE ONLY
     DAVID J. MILLSTEIN, ESQ. (87878)
     MILLSTEIN & ASSOCIATES
     100 The Embarcadero, Penthouse
     San Francisco, California 94105
           TELEPHONE NO.: (415) 348-0348                 FAX NO. (Optional):
 E–MAIL ADDRESS (Optional):
      ATTORNEY FOR (Name):     PLAINTIFF                                                                        ELECTRONICALLY
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN FRANCISCO                                                               FILED
       STREET ADDRESS:                                                                                          Superior Court of California,
                                                                                                                 County of San Francisco
       MAILING ADDRESS:      400 McAllister Street
      CITY AND ZIP CODE:     San Francisco, California 94102                                                          12/21/2020
           BRANCH NAME:                                                                                          Clerk of the Court
                                                                                                                    BY: CAROL BALISTRERI
      PLAINTIFF/PETITIONER:             RUSTY AREIAS, ET AL.                                             CASE NUMBER:         Deputy Clerk
                                                                                                                            CGC 20 587947
DEFENDANT/RESPONDENT:                   APPLIED UNDERSWRITERS, INC., ET. AL.

                                                                                                         Ref. No. or File No.:

                                    PROOF OF SERVICE OF SUMMONS                                                                  W127082

                                              (Separate proof of service is required for each party served.)
1.    At the time of service I was at least 18 years of age and not a party to this action.
2.    I served copies of:
      a.        x     summons
      b.        x     complaint
      c.        x     Alternative Dispute Resolution (ADR) package
      d.        x     Civil Case Cover Sheet (served in complex cases only)
      e.              cross-complaint
      f.     x        other (specify documents):
                                                     NOTICE TO PLAINTIFF
3.    a. Party served (specify name of party as shown on documents served):

           APPLIED UNDERWRITERS, INC.
      b.    x       Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
                    under item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
           MICHAEL K PERKINS, the registered agent for service of process
4.    Address where the party was served: 80 STONE PINE ROAD, SUITE 210
                                                     HALF MOON BAY, CA 94019
5.    I served the party (check proper box)
      a.         by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                 receive service of process for the party (1) on (date):                      (2) at (time):
      b.     x       by substituted service. On (date): 11/30/2020 at (time): 8:16 a.m. I left the documents listed in item 2 with or
                     in the presence of (name and title or relationship to person indicated in item 3):
                     Daniel Davis, Administrative Assistant, Authorized by the agent for service to accept legal documents.

                     (1)      x      (business) a person at least 18 years of age apparently in charge at the office or usual place of business
                                     of the person to be served. I informed him or her of the general nature of the papers.

                     (2)             (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
                                     place of abode of the party. I informed him or her of the general nature of the papers.
                     (3)             (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                                     address of the person to be served, other than a United States Postal Service post office box. I informed
                                     him or her of the general nature of the papers.
                     (4)     x       I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served
                                     at the place where the copies were left (Code Civ. Proc., § 415.20). I mailed the documents on
                                     (date):               from (city):                           or x a declaration of mailing is attached.
                     (5)             I attach a declaration of diligence stating actions taken first to attempt personal service.
                                                                                                                                                         Page 1 of 2

 Form Adopted for Mandatory Use                                                                                                     Code of Civil Procedure, § 417.10
   Judicial Council of California
                                                        PROOF OF SERVICE OF SUMMONS
 POS-010 [Rev. January 1, 2007]
                                 Case 4:21-cv-00023-JST Document 1-1 Filed 01/04/21 Page 30 of 34
      PLAINTIFF/PETITIONER:             RUSTY AREIAS, ET AL.                                        CASE NUMBER:

                                                                                                                 CGC 20 587947
DEFENDANT/RESPONDENT:                   APPLIED UNDERSWRITERS, INC., ET. AL.



5.   c.             by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the
                    address shown in item 4, by first-class mail, postage prepaid,

                    (1) on (date):                                              (2) from (city):
                     (3)         with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed
                                 to me. (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                    (4)           to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)

     d.             by other means (specify means of service and authorizing code section):




                    Additional page describing service is attached.

6.   The "Notice to the Person Served" (on the summons) was completed as follows:
      a.        as an individual defendant.
      b.        as the person sued under the fictitious name of (specify):
     c.         as occupant.
      d.   x On behalf of (specify): APPLIED UNDERWRITERS, INC.
                     under the following Code of Civil Procedure section:
                                 x   416.10 (corporation)                           415.95 (business organization, form unknown)
                                     416.20 (defunct corporation)                   416.60 (minor)
                                     416.30 (joint stock company/association)       416.70 (ward or conservatee)
                                     416.40 (association or partnership)            416.90 (authorized person)
                                     416.50 (public entity)                         415.46 (occupant)
                                                                                    other:
7.   Person who served papers
     a. Name: Stephen Sabol
     b. Address: Wheels of Justice, 848 Folsom Street, Suite 102, San Francisco, California 94107
     c. Telephone number: (415) 546-6000
     d. The fee for service was: $
     e. I am:
           (1)             not a registered California process server.
           (2)             exempt from registration under Business and Professions Code section 22350(b).
           (3)      x      a registered California process server:
                           (i)         owner          employee     x independent contractor.
                           (ii) Registration No.: 2019-0001267
                           (iii) County: San Francisco

8.     x       I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

               or
9.             I am a California sheriff or marshal and I certify that the foregoing is true and correct.

Date: November 30, 2020

                            Stephen Sabol
          (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)                                             (SIGNATURE )




POS-010 [Rev. January 1, 2007]                                                                                                        Page 2 of 2
                                                      PROOF OF SERVICE OF SUMMONS
                                                     Case 4:21-cv-00023-JST Document 1-1 Filed 01/04/21 Page 31 of 34
Attorney Or Party Without Attorney (Name and Address)                                                         Telephone:                             FOR COURT USE ONLY

       DAVID J. MILLSTEIN, ESQ. (87878)                                                                    (415) 348-0348
       MILLSTEIN & ASSOCIATES
       100 The Embarcadero, Penthouse
       San Francisco, California 94105                                                                        Ref. No. Or File No.

Attorneys for:        PLAINTIFF                                                                                         W127082
Insert name of court, judicial district and branch court, if any:

       SUPERIOR COURT OF THE STATE OF CALIFORNIA
       FOR THE CITY AND COUNTY OF SAN FRANCISCO
Plaintiff:


       RUSTY AREIAS, ET AL.
Defendant:


       APPLIED UNDERSWRITERS, INC., ET. AL.
                                                               Hearing Date:    Time:          Dept/Div:                             Case Number:

                                                                                                                                                    CGC 20 587947
             POS BY MAIL                                            4/14/2021    10:30 a.m.                  610

   At the time of service I was at least 18 years of age and not a party to this action.
   On November 30, 2020 , I served the within :

             SUMMONS;
             COMPLAINT;
             CIVIL CASE COVER SHEET;
             ALTERNATIVE DISPUTE RESOLUTION (ADR) PACKAGE;
             NOTICE TO PLAINTIFF



  on the defendant in the within action by placing a true copy in a sealed envelope with postage fully
  prepaid for first class, in the United States mail at San Francisco, California, addressed as follows:


                                      APPLIED UNDERWRITERS, INC.
                                      c/o MICHAEL K PERKINS, the registered agent for service of process
                                      80 STONE PINE ROAD, SUITE 210
                                      HALF MOON BAY, CA 94019




      Person serving:
      Christopher T. Tran                                                                   not a registered California process server.
      Wheels of Justice                                                                     exempt from registration under B&P Section 22350(b).
      848 Folsom Street, Suite 102
                                                                                        x   a registered California process server
      San Francisco, California 94107
                                                                                                 owner    x employee            independent contractor
      Phone: (415) 546-6000
                                                                                            Reg No.: 2019-0001433 County: San Francisco
      Fee for service:

      I declare under penalty of perjury under the laws of the State of California that the foregoing
      is true and correct.

                                                                                                  Signature:__________________________
   Date: November 30, 2020
                                                                                                                               Christopher T. Tran

                                                                                                                                                       Judicial Council form, rule 982(a) (23)
                                  Case 4:21-cv-00023-JST Document 1-1 Filed 01/04/21 Page 32 of 34
                                                                                                                                                      POS-010
     ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, Sorts rmr n meer end address/.                                               FOR COURTUSE ONLY
       DAVID I. MILLSTEIN, ESQ.               (87878)
       MILLSTEIN & ASSOCIATES
       100 The Embsrcsdero, Penthouse
       Ssn Francisco, California 94105                                                                                  ELECTRONICALLY
             TELEPHDNENDJ (415) 348-0348
     E-MAIL ADDRESS (Ontiansi/I
                                                              FAX NO. (Optmnel/I
                                                                                                                               FILED
                                                                                                                        Superior Court of California,
        ATTORNEY FOR (Name/I           PLAINTIFF                                                                         County of San Francisco

     SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN FRANCISCO
             STREET ADDRESS
                                                                                                                               12/21/2020
                                                                                                                         Clerk of the Court
             MAILING ADDREss:      400 McAllister Street                                                                    BY: CAROL BALISTRERI
        cnYANozii coos:            San Francisco, California 94102                                                                    Deputy Clerk
                BRANCH NAME:

        PLAINTIFF/PETITIONER:                 RUSTY AREIAS, ET AL.                                           CASE NUMSER:
                                                                                                                            CGC 20 587947
DEFENDANT/RESPONDENT:                         APPLIED UNDERWRITERS, INC., ET. AL.

                                                                                                             Ref.No orFSeNoc
                                        PROOF OF SERVICE OF SUMMONS                                                            W 127539

                                                    (Separate pmof of service is required for each party served.)
1.      At the time of service I was at least 18 years of age and not a party to this action.
2.       I




        a-       ~
             served copies of:


                 M
                      summons


                 ~
        b.                   complaint
        c.
        d.
        e.
                 ~
                 ~
                             Alternative Dispute Resolution (ADR) package
                             Civil Case Cover Sheet (served in complex cases only)
                             cross-complaint
                                                        SUMMONS; COMPLAINT; CIVIL CASE COVER SHEET;           ALTERNATIVE DISPUTE RESOLUTION
                 [   X ]     other (specify documents): (ADR) pACKAGE; NOTICE Tp PLAINTIFF
3.      a. Party served (spec(fy name of party as shown on documents served):
                STEVEN MENZIES
        b.     W           Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
                           under item 5b on whom substituted service was made) (specify name and relationship io the party named initem 3a)(

4.      Address where the party was served: 950 TOWER LN, Suite 1400
                                                FOSTER CIJYr CA 94404
5.      I served the party (check proper box)


                    by personal service. (personally delivered the documents listed in item 2 to the party or person authorized to
                    receive service of process for the party (1) on (da(e):                        (2) at (time)(
        b Mx        by substituted service. On (da(e)( 12/21/2020 at (time)(g:18 am left the documents listed in item 2 with or
                                                                                                         I


                    in the pesence of (name and title or relationship to p rson indicated in item 3)(
                            Served Jeff nDoea (refused to give name), manager (W/M/5'9a/58/180/Gray)
                            (1)   ~x      (business) a person at least 18 years of age apparently in charge at the office or usual place of business
                                          of the person to be served. informed him or her of the general nature of the papers.

                                  ~
                                                                       I




                            (2)           (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
                                          place of abode of the party. informed him or her of the general nature of the papers.
                                                                           I



                                          (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                                          address of the person to be served, other than a United States Postal Service post office box. I informed
                                          him or her of the general nature of the papers.
                            (4)   ~x      Ithereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served

                                          (date):12/21/2020 from (city)( San Francisco, Cafirornia or
                                          I
                                                                                                        ~
                                          at the place where the copies were left (Code Civ. Proc., 0 41 5~20 . mailed the documents on
                                                                                                              I


                                                                                                                a dedaration of mailing is attached.
                                           attach a declaration of diligence stating actions taken first to attempt personal service.
                                                                                                                                                        Pose 1 of 2
 Form Adopted for Mandatmr Use
                                                             PROOF OF SERVICE OF SUMMONS                                           Coca of Civil Procedure,   I 411 10
   J anal C       of Cali(amis
                       I

 POS-010 [R u J nu rr 1,200n
                              Case 4:21-cv-00023-JST Document 1-1 Filed 01/04/21 Page 33 of 34
          PLAINTIFF/PETITIONER:           RUSTY AREIAS, ET AL.                                           CASE NUMSER

                                                                                                                      CGC 20     587947
I   DEFENDANT!RESPONDENT.                 APPLIED UNDERWRITERS, INC., ET. AL



                        by mail and acknowledgment of receipt of service. mailed the documents listed
                                                                                 I                              in   item 2 to the party, to the
                        address shown in item 4, by first-class mail, postage prepaid,


                        (3)   ~
                        (1) on (date):
                                    with two copies of the Notice
                                                                                     (2) from (city):
                                                                  and Acknowledgment of Receipt and a postage-paid return envelope addressed
                                    to me. (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., 5 415.30.)
                        (4)   M      to an address outside California with return receipt requested. (Code Civ. Proc., 5 415.40.)

          d    ~        by other means (specify means of service and authorizing code section):



                        Additional page describing service is attached.

    6.    The "Notice to the Person Served" (on the summons) was completed as follows:
           a. ~x     as an individual defendant.
           b.  M     as the person sued under the fictitious name of (specify):

           d.  ~     as occupant.
                     On behalf of (specify):
                     under the following Code of Civil Procedure section:
                              C3 416.10 (corporation)                                M
                                                                                  415.95 (business organization, form unknown)
                                  M416.20 (defunct corporation)                      M
                                                                                  416.60 (minor)
                                  M416.30 (joint stock company/association) C3 416.70 (ward or conservatee)
                                  M416.40 (association or partnership)               M
                                                                                  416.90 (authorized person)
                                  M416.50 (public entity)                            M
                                                                                  415.46 (occupant)
                                                                                W other:
    7.    Person who served papers
          a. Name: Mahesh Bhagat
          b. Address: Wheels of )ustice, 848 Folsom Street, Suite 102, San Francisco, California 94107
          c. Telephone number: (415)           546-6000
          d. The fee for service was: $
          e. )am:
               (1)
               (2)
                      ~
                      I~
                              not a registered California process server.
                              exempt from registration under Business and Professions Code section 22350(b).
               (3) I~X
                              (i)
                              (ii)
                                  ~       owner   ~
                              a registered California process server:
                                                         employee ~x independent contractor.
                                    Registration Noz 2018-0001414
                              (iii) County: San Francisco

    6     ~x      I   declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.


     9.   ~       or
                  I   am a California sheriff or marshal and certify that the foregoing is true and correct.
                                                                  I




    Date:     December 21, 2020

                                   Mahesh Bhagat
              (NAME OF PERSON INtfo SERVED PAPERS/SHERIFF OR VIARSHAL)                                         (SIGNATURE)




    FOS.DID [Reh Jeeaav 1,2CDTI                                                                                                                    Pace 2 ef 2
                                                          PROOF OF SERVICE OF SUMMONS
              Case 4:21-cv-00023-JST Document 1-1 Filed 01/04/21 Page 34 of 34


      DAVID J. MILLSTEIN, ESQ.                   (87878)
      MILLSTEIN & ASSOCIATES
      100 The Embarcadero, Penthouse
      San Francisco California 94105
      Telephone: (4" 5) 348 0348
      Attorneys for: PLAINTIFF
      SLIPERIOR COURT OF THE STATE OF CALIFORNIA
      FOR THE CITY AND COUNTY OF SAN FRANCISCO

      Plaintiff(s): RUSTY AREIAS,          ET AL
                                                                                                           Hearing Date:  4/14/2021
      Defendant(s): APPLIED           UNDERWRITERS, INC., ET. AL.
                                                                                                           Timer 10:30 a.m. Dept. 610

  ~
      Invoice No W127332                               DECLARATION RE DILIGENCE                                     Case No. CGC 20 587947

      IChuck Casey                          , and any employees or independent contractors retained by
      WHEELS OF JUSTICE      are and were on the dates mentioned herein over the age of eighteen years
      I make this declaration based on personal, first hand knowledge, and if called before this court to testify
       as to any matters contained herein, am competent to and will do so.
                                                              I


                                                                              STEVEN MENZIES
          SUMMONS; COMPLAINT; CIVIL CASE COVER SHEET; ALTERNATIVE DISPUTE RESOLUTION (ADR)
          PACKAGE; NOTICE TO PLAINTIFF

(3) Alternate Address:
(2) Business Address:
(1) Residence Address: 6515 N 159TH ST Omaha, Ne 68116-4058
    note nnrl time nf nttr mnt/el
      I 'I/23/2020      6:14 pm
      Received by email (30 pages)

      12/10/2020          6;30 pm
      No Answer. Front blinds  have been shut. No cars        in   the driveway. Address has been veraed with county records as Steven Menzies owns the
      property.

      12/11/2020          6:00 pm
      No Answer. Same as    before,

      12/15/2020          11:30 am
      No Answer. It's possible they are out of town. No cars          in   the driveway. Have not seen any neighbors to speak with due to the cold weather.

      12/16/2020          9:00 am
      No Answer. Blinds   shut. No cars   in   the dnvsway.

       12/16/2020         6:30 pm
      No Answer. Blinds   shut. No cars   in   the driveway. House all dark

       12/19/2020         7:so am
      No Answer.




          This Declaration is based upon business records maintained in the normal course of business
          I declare under penalty of perjury under the laws of the State of California that the foregoing is

          true and correct.
           Executed on December 9, 2020
                                                                                                              Chuck Casey
                                 „.'HEELS
                                  OF JUSTICE,          848 Folsom Street, Suite 202, San Francisco, California 94207
